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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:96CR46
                              )
          v.                  )
                              )
JEFFREY SEAN MITCHELL,        )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on the stipulation of

the parties (Filing No. 532).       The retroactive amendment to the

cocaine base guideline changes the total (final) offense level

from 37 to 35.   The government and defense agree that the new

sentence should be one hundred thirty-three (133) months

imprisonment, based on the prior computation of specific offense

characteristics, adjustments, and any departures.               Considering

the time served and credit for good time,

           IT IS ORDERED that said motion is granted and the

stipulation of the parties is approved and adopted; the sentence

of the defendant is reduced to time served, and the defendant is

entitled to be released.     Execution of this order shall be stayed

for ten (10) days from the date of this order.                The conditions of
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supervised release entered in the original judgment and committal

order remain in full force and effect.

           DATED this 3rd day of March, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
